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May 7, 2024
Via CM/ECF

The Honorable Tony N. Leung
Magistrate Judge — U.S. District Court
U.S. Courthouse

300 South Fourth Street

Minneapolis, MN 55415

Re: Nyra Jean Miller-Fields v. Ryan Londregan and Brett Seide
Court File Number: 24-cy-01372 (NEB/TNL)

Magistrate Leung:

I represent Plaintiff Nyra Jean Miller-Fields in the above-captioned matter. On April
25, 2024, Defendant Seide filed a motion to stay proceedings pending conclusion of the
related criminal matter. This filing was part ofa flurry of filings over the last two wecks.
On April 24, 2024, this Court entered an Order granting several Pro Hac Vice admissions
for Plaintiff’s counsel. The following day, Defendant Scide’s counsel entered a notice of
appearance and filed the above-referenced motion. On May 2, 2024, Defendant
Londregan’s counsel filed three notice of appearances and a memorandum in opposition to
Defendant Seide’s motion. Plaintiff ultimately filed her memorandum in opposition on
May 6, 2024.

Plaintiff would request this Court apply the doctrine of excusable neglect to extend
the time for her filing, as the unique posture of the case and disagreement amongst the
Defendants caused confusion resulting in the inadvertent late filing. “Federal Rule of Civil
Procedure 6(6)(1)(B) permits a district court to extend the time for a party to submit a filing
‘if the party failed to act because of excusable neglect.’” Chorosevic v. Met Life Choices,
600 F.3d 934, 946 (8th Cir. 2010). “Excusable neglect is an ‘elastic concept’ that empowers
courts to accept, ‘where appropriate, . . . late filings caused by inadvertence, mistake, or
carelessness, as well as by intervening circumstances beyond the party's control.’” Jd.
(quoting Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P'ship, 507 U.S. 380, 392, 388,
113 S.Ct. 1489, 123 L.Ed.2d 74 (1993)). In determining whether to apply the doctrine,
courts consider (1) the possibility of prejudice to the movant, (2) the length of the delay
and possible impact on judicial proceedings, (3) the reason for delay, and (4) whether the
delaying party acted in good faith. Sugarbaker v. SSM Health Care, 187 F.3d 853, 856 (8th
Cir. 1999). Ultimately, “[t]he determination of whether neglect is excusable ‘is at bottom
an equitable one, taking account of all relevant circumstances surrounding the party’s
omission.’” Chorosevic, 600 F.3d at 946 (quoting Pioneer Inv. Servs. Co., 507 at 395, 113
S.Ct. 1489, 123 L.Ed.2d 74).

Here, Plaintiff asserts there is no prejudice on either Defendant, as the late filing has
not created any hardship for either Defendant, and Defendant Londregan has similarly filed
a memorandum in opposition to the motion. As for the delay, Plaintiff’s response was filed
four days (two business days) after the response was due to be filed,! and Plaintiff asserts
that the delay will have no impact on the proceedings.

Plaintiff would ask that this Court keep the June 6, 2024 hearing on the docket.

Sincerely,

/s/ Bakari T. Sellers

Bakari T. Sellers

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Attorney for Plaintiff Nyra Jean Miller-Fields

cc: Counsel for all parties, via CM/ECF

' See Fed. R. Civ. P. 6(a)(1)(A) (“When the period is stated in days or a longer unit of
time . . . exclude the day of the event that triggers the period.”).

2
